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                                                         EXHIBIT A
                                       Additional Examples of Defense Discovery Requests
1    “Videos in the government's possession that filmed the interior of the capital building from approximately 2:50 PM to 3:35 PM on
     January 6, 2021.”
2    “[A]ll photographs or video footage obtained or confiscated by the government from outside sources during the investigation of
     this case are material to the defense’s preparation.”
3    “Our position is that the government must identify any evidence it believes to capture [defendant], regardless of whether it intends
     to rely on the same in its case in chief.”
4    “Copies of any and all documents, photographs, and video received by the U.S. Attorney’s office and/or Metropolitan Police
     Department or any other law enforcement agency from any law enforcement officer or prosecutor from any other jurisdiction
     regarding this case.”
5    “I write to request that the United States review the contents of the FBI’s “I” drive and disclose any and all exculpatory evidence
     identified therein.”
6    “Network news outlets aired footage of one or more Officers directing protestors towards doors and seemingly invited them to
     enter the building -- this is Brady material for our clients.”
7    “The discovery I'm requesting is all video and/or audio footage in which Capitol Police and any other Gov't officials or agents
     remove barriers and/or interact with protestors who entered the Capitol or gained access to the patios or other structures connected
     to the Capitol building complex.”
8    “This request also includes any video footage, including from cameras owned by MPD (crime and red light) and DDOT (which are
     operated and maintained by MPD, and to which MPD has access), as well as any footage that government actors reviewed. This
     request also includes any video footage from MPD District where the defendant was taken, and all body worn camera footage that
     may have captured any portion of the alleged incident, investigation or arrest of my client.”

     “The request includes all Body Worn Camera (BWC) footage from all offices involves in any and all searchers, arrests, and
     investigations associated with this case and/ or labels with the CCN Number associated with this case; information that will permit
     undersigned counsel to identify the officer wearing the BWC; metadata related to any and all BWC footage; information from the
     AUSA’s office and/or MPD specifying any edits or redactions made to the footage and the corresponding justifications. Please also
     provide the access logs for the BWC footage for any and all officers involved in this case.”
9    “All photographs, including those of the defendant, sketches, diagrams, maps, representations or exhibits of any kind, that
     relate to this case, regardless of whether the government intends to introduce them in its case-in-chief . . .Including all video
     recordings related to the January 6, 2021 events.”
10   “I further request that you review all documentation related to or generated in connection with this case that may be outside of the
     government’s official case file (e.g., materials in the FBI’s “I-Drive” or other similar repositories of investigation documents in the
     possession of federal or local agencies or law enforcement authorities.”


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                                                         EXHIBIT A
                                       Additional Examples of Defense Discovery Requests
11   “Any evidence (whether or not reduced to writing) that law enforcement or Capitol employees allowed any protestors into the
     building. Such evidence might include (without limitation) moving barricades, opening doors, instructing protestors they could
     enter, failing to intervene when protestors entered, etc…”
12   “Any evidence that concerns any Capitol police officers who were suspended and/or disciplined for removing barriers, opening
     doors, etc. on January 6th.”
13   “I am also concerned about the thousands or tens of thousands videos the government has received from public sources,
     particularly how the government is searching, indexing, and storing these videos, and whether the government is withholding any
     video footage in its possession; Based on my review of the discovery thus far, there is official video surveillance and publicly
     sourced video footage that is exculpatory to the defendants. Many of those videos show [defendant] and other[s] peacefully
     walking around the Capitol. In these videos, they, like thousands of others, are doing nothing illegal with the possible exception of
     being present in the building, all of which is potentially exculpatory.”
14   “All information regarding any Capitol Police, MPD, National Guard, other law enforcement officer or other person in position of
     authority ("LEOs") who moved guard rails, opened or held doors open, stepped aside, allowed persons to enter or stay within the
     Capitol or otherwise did not direct, instruct or signify to the public -- implicitly or explicitly -- to vacate the Capitol or that the
     Capitol was closed to the public or restricted for public entry.”
15   “Any audio or video footage of [defendant] relevant to any of the charges in the indictment that has not previously been provided,
     whether captured by body-cameras worn or phones carried by Metropolitan Police Department officers, by body-cameras worn or
     phones carried Capitol Police officers, or by phones or other recording devices carried by any other witness.”
16   “For purposes of this letter, all photographs or video footage obtained or confiscated by the government from outside sources
     during the investigation of this case are material to the defense’s preparation. Please provide notice of any decision not to produce
     requested photographs, video footage, or recorded communications so that a judicial decision as to production may, if warranted,
     be sought. Please also provide all photographs, video footage, and recorded communications relating to the Brady and Giglio
     requests articulated below.”




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